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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 ELBERT BROWN, et al.,

                 Plaintiffs,

           v.                                                Civil Action No. 15-01380 (KBJ)

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA,

                 Defendant.


                DEFENDANT’S CONSENT MOTION TO STAY LITIGATION

       Defendant the District of Columbia (the District) submits this Consent Motion to Stay

Litigation so that the Parties may discuss the possibility of settlement. Following the filing of the

District’s Answer [73], the Court issued an initial scheduling order [74] on July 11, 2019, setting

an initial scheduling conference for August 22, 2019 and requiring the Parties to meet-and-confer

regarding discovery. The District now seeks a 60-day stay of the litigation until September 24,

2019. The Parties are exploring whether they can reach a settlement of this matter, and a 60-day

stay would allow the Parties sufficient time to pursue possible resolution. See Fed. R. Civ. P.

6(b)(1).

       A memorandum of points and authorities and a proposed order are attached. Pursuant to

Local Civil Rule 7(m), undersigned counsel discussed this matter with plaintiffs’ counsel;

plaintiffs consent to the requested relief. The District respectfully requests that the Court grant the

Consent Motion and enter the proposed order.


Dated: July 26, 2019.                  Respectfully submitted,

                                       KARL A. RACINE
                                       Attorney General for the District of Columbia
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                     TONI MICHELLE JACKSON
                     Deputy Attorney General
                     Public Interest Division

                     /s/ Fernando Amarillas
                     FERNANDO AMARILLAS [974858]
                     Chief, Equity Section

                     /s/ Gregory M. Cumming
                     GREGORY M. CUMMING [1018173]
                     ROBERT RICH [1016908]
                     Assistant Attorneys General
                     441 Fourth Street, N.W., Suite 630 South
                     Washington, D.C. 20001
                     Tel: (202) 724-6591; (202) 724-6627
                     robert.rich@dc.gov; gregory.cumming@dc.gov

                     Counsel for the District of Columbia




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